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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION

DEMOCRACTIC PARTY OF VIRGINIA AND                )
DCCC,                                            )
                                                 )
              Plaintiffs,                        )
                                                 )
      v.                                         )           Civil Case No. 3:21-cv-00756-HEH
                                                 )
ROBERT H. BRINK, in his official capacity as the )
Chairman of the Board of Elections, et al.,      )
                                                 )
              Defendants,                        )
                                                 )
      v.                                         )
                                                 )
REPUBLICAN PARTY OF VIRGINIA,                    )
                                                 )
              Proposed Intervenor-Defendant      )
_________________________________________ )

      PROPOSED INTERVENOR-DEFENDANT THE REPUBLICAN PARTY OF
                   VIRGINIA’s MOTION TO INTERVENE

       Pursuant to Rule 24 of the Federal Rules of Civil Procedure, the Republican Party of

Virginia (“Proposed Intervenor-Defendant”) respectfully moves to intervene in the above-

captioned proceeding as Defendant as a matter of right, or, in the alternative, by permission of

the Court. This motion is supported by the attached memorandum of law.




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        Counsel for Proposed Intervenor-Defendant has contacted counsel for the parties seeking

their consent to this motion. Plaintiffs oppose Proposed Intervenor-Defendant’s intervention,

and Defendant takes no position for or against Proposed Intervenor-Defendant’s intervention.



Dated: January 12, 2022                             Respectfully submitted,

                                                    By:/s/David A. Warrington
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                                                    Republican Party of Virginia




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                                   CERTIFICATE OF SERVICE

          I hereby certify that I electronically filed the foregoing with the Clerk of the Court using

the CM/ECF system, which will send a notification of such filing to all counsel of record in this

action.

Dated: January 12, 2022

                                                        By:/s/David A. Warrington
                                                            David A. Warrington




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